                          Case 4:17-cr-00208-JRH-CLR Document 319 Filed 04/09/18 Page 1 of 7
cAS 2458                 (Rev.I l/16) Judgment
                                             in acriminal Case
DC CusrodyTsR



                                                    SrarEsDrsrzucrCounr
                                               UNnu,u
                                                          SOUTHERNDISTRICTOF GEORGIA
                                                              SAVANNAH DIVISION
                  TJNITEDSTATESOF AMERICA                                      )      JUDGMENT IN A CRIMINAL CASE
                              v,
                       TatonyaShariHailes
                                                                                      CaseNumber:                   4:17CR00208-19

                                                                                      USM Number:                   22167-021


                                                                                       DwightL. Thomas                   ,
                                                                                       Defendant'sAttomey
THE DEFENDANT:
X pleadedguiltyto a lesserincludedoffenseofcount l.
!    pleadednolo contendere
                          to Count(s)                                             by thecourt.
                                                                   whichwasaccepted

E rvasfoundguilty on Count(s)                                aftera pleaof not guilry.

The defendantis adjudicatedguilty of this offense:

Title & Section                          Nature of Offense                                                               Offense Ended   Count

2l u.s.c,$ 846,                                   to possess
                                         Conspiracy        with intentto distribute,andto disfiibute,                    August2, 2017     I
2 l U . S . C$. 8 a l ( a ) ( l )a n d   marihuana
(bxlxD)
                 is sentenced
     The defendant          asprovidedin pages2 through                             7 __ of thisjudgment.The sentence
                                                                                                                    is imposedpursuantto the
        Reform
Sentencing     Act of 1984.
!    Thedefendant
                hasbeenfoundnot guilty on Count(s)

E Count(s)                                        I   is !       aredismissedI asto thisdefendanton themotionofthe UnitedStates.

        It is orderedthat the defendantmustnotiry the United StatesAttomey for this districtwithin 30 daysof any changeof name,
residence,                                                                       imposedby thisjudgmentarefully paid. If orderedto
          or mailingaddressuntil all fines,restitution,costs,ard specialassessments
payrestitution,the defendartmustnotirythe CouftandUnitedStatesAttomeyofmaterialchanges      in economiccircumstarces.

                                                                                   Apriltr20lE_-_
                                                                                   Date of lmposition of Judgment




                                                                                           ofJudg€
                                                                                   Signature                         F
                   iL


      =>           6i                                                              WilliamT. Moore,Jr.
      iio
    0-!E           A                                                               Judge,U.S.Dist{ictCourt_
    Ldo<
    JA=            ct!                                                             NameandTitle ofJudge
    r,-irs         cE
      =#3                                                                                 .4aare 2 ua
                              &                                                    Date
      :is                     lrJ
                              C'
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DEFENDANT:                TaloDyaStari Hailes
CASENUMBER:               4:17CR00208-19


                                                            IMPRISONMENT

                         is herebycommittedto the custodyofthe FederalBureauofPrisonsto be imprisonedfor a total
             The defendant
             termof 8 months.


   X         The Courtmakesthe follorvingrecommendations     to 0reBureauofPrisons:
             It is recommended     that the defendantbe given credit towardthis federalsentencefor all time servedin custodybetween
             August15.2017.andAueust23.2017,that is not creditedtowardanotbersentence.           It is alsor€commendedthatthe defendant
             be evaluatedby BureauofPrisonsofficialsto establish   her parricipationin an appropriate programofsubstanc€abusetreatment
             and counselingduring her term of incarceration.  Further,it is recommended    that the defendantbe designatedto the fedeml
             facility in Aliceville,Alabama,

   n         Thedefendant
                        is remanded
                                  to the custodyofthe UnitedStatesMarshal.

   n                     shallsunenderto the Unit€dStatesMarshalfor thisdistrict:
             The defendant

        !at                                     n    a.m.     I    p...        on

    ,   tr       asnotifiedby theUnitedStatesMarshal.

   X         The defendant
                         shallsurrender
                                      for serviceofsentenceat the institutiondesignated
                                                                                      by the BureauofPrisons:

        X        before2 p.m.on                      M a y8 , 2 0 1 8

        n        asnotihedby theUnitedStatesMarshal.

        !        asnotifiedby theProbationor PretrialServicesOffice.


                                                                  RETURN
I haveexecuted
             thisjudgmentasfollows:




        Defendantdelivered on

                                                    , with a certifredcopyofthis judgment.


                                                                                                TNITED STATESMARSHAL



                                                                          By
                                                                                             DEPUTy
                                                                                                  uNriEtSf ATEsMARS[rAL
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DC CustodyTSR

DEFEND,'NTT           Tatonya
                            ShariHailes
CASENUMBER:           4:17CR00208-19


                                                  SUPERVISEDRELEASE
Uponreleasefrom imprisonment,
                           you will be on supervised
                                                   rel€asefor a termof: 3 years.

                                              MANDATORY CONDITIONS

l.   You mustnot commitanotherfederal,state,or localcrime.
2.   You mustnot unlawfullypossess a controlledsubstance.
3.   You mustretain from anyunlawfuluseofa controlled$bstance.You mustsubmitto I drugtestwithin 15daysofrelease
     fiom imprisonmentandat least2 periodicdrugteststheriafter,asdetermined
                                                                          by the court.
     D The abovedrugtestingconditionis suspended,                            thatyou posea low risk of future
                                               basedon thecourt'sdetermination
             abuse.(Check,
     substance           iJapplicable.)
4.                      in the collectionofDNA asdirectedby theprobationoflcer. (Check,
      X You mustcooperate                                                            iJappticabte.)
5.   ! You mustcomplywith the requirements    ofthe SexOffenderRegistration   andNotificationAct (34 U.S.C,g2}g0l, et seq.)as
     directedby theprobationofficer,theBureauofPrisons,or any statesexoffenderregistration  agercyin whichhe or sheresides,
     works,is a student,or wasconvictedof a qualifuingoffense. (Check,
                                                                     il appticabte.)
6.   ! You mustparticipatein an approvedprogramfor domesticvi olence. gnec*.ifappticabte.)
7.   fl You mustmakerestitutionin accordarce  wirh l8 $5 U.S.C.2248,2259,2264,2327,3663,3663A,       and3664.(check,
                                                                                                                   if dwticabte.)
8.   You mustpaythe assessment   imposedin accordance  with 18 $ U,S.C.3013.

You mustcomplywith the standardcorditionsthathavebeenadoptedby this courtaswell aswith anyotherconditions
on the attachedpage.
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DC CusrodyTSR

DEFENDANT:              TatoryaShariHailes
CASENUMBER:             4117CR00208-19


                                    STANDARD CONDITIONS OT SUPERVISION
As partofyour supervised  release,you mustcomplywith the followingstandardconditionsof supervision.Theseconditionsareimposed
because  theyestablishthe basicexpectations
                                          for your behaviorwhile on supervisionandidenti$rthe minimumtoolsneededby probation
officersto keepinformed,repofito the courtabout,andbringaboutimprovements   in your conductandcondition.


   l    You mustreportto the probationoffice in the federaljudicial dishict whereyou are authorizedto residewithin 72 hoursof your
                                unlessthe probationofficer instructsyou to repofito a differentprobationoffice or within a different
        releasefrom imprisonment,
        time frame.
  2.    After initially reportingto the probationoffice,you will receiveinsfuctionsfrom the courtor the probationofTicerabouthow and
        whenyou muslreportto the probationofficer,andyou mustreportto theprobationofficerasinstructed.
  3.    You mustnot knowinglyleavethe federaljudicial districtwhereyou areauthorizedto residewithoutfirst gettingpermission1lom
        the courlor the probationofficer.
  4.    You mustanswertruthfullythe qu€stions
                                            askedby yourprobationofficer.
  5.    You must live at a placeapprovedby the probationofficer.If you plan to changewhereyou live or anyhing aboutyour living
        arangements(suchas the peopleyou live with), you must notii/ the probationofflcer at least l0 daysbeforethe change. If
        notiryingtheprobationofficerin advanceis not possibledueto unanticipated             you mustnotify the probationofficer
                                                                                circumstarces,
        within 72 hoursofbecomingawareofa changeor expected    change.
  6.    You mustallowtheprobationotTicerto visit you at anytime at your homeor elsewhere,andyou mustpermittheprobation
        officerto takeany itemsprohibitedby the conditionsofyour supervision
                                                                           thathe or sheobserves
                                                                                               in plainview.
  7.    You mustwork full time (at least30 hoursper week)at a lawfultlpe ofemplolnnent,unlesstheprobationofficerexcuses  you from
        doingso. If you do not havefull-timeemployment  you musttry to find full-timeemploynent,unlessthe probationolficer excuses
        you fiom doing so. If you plan to changewhereyou work or anythingaboutyoul work (suchas your positionor your job
                        you mustnotiry the probationofficerat leastl0 daysbeforethe change.Ifnotirying the probationoflicer at least
        responsibilities),
        10 daysin advanceis not possibledueto unanticipated   circumstances, you mustnotiry the probationofficerwithin 72 hoursof
        becomingawareofa changeor expectedchange.
  8,    You mustnot communicate  or interactwith someone
                                                       you know is engaged in criminalactivify. Ifyou know someone  has
        beenconvictedofa felony,you mustnot knowinglycommunicate   or intoractwith thatpersonwithoutlrst gettingthe
        permissionof theprobatioflo{Icer.
  9.    Ifyou axearrested
                        or questioned                 officer,you mustnotirytheprobationofficerwithin 72 hours,
                                    by a law enforcement
 10, You mustnot own, possess,
                             or haveaccessto a firearm,ammunition,destructivedevice,or dangerous    weapon(i.e. arlthing that
     wasdesigned,or wasmodifiedfor, the specificpurposeof causingbodily injury or deathto anotherpersonsuchas a nurchakusor
     tasers).
 IL     You must not act or make any agreementwith a law enforcementagencyto act as a confidential human sourceor informant
        withoutfirst gettingpermission
                                     from the court.
 12. lf the probationofficer determines
                                      that you posea risk to anotherperson(includingan organization),
                                                                                                   the probationofficer may
     requireyou to notify the personaboutthe risk andyou mustcomplywith that instruction.The probationofficermay contactthe
     personandconfirmthatyou havenotifiedthatpe$onabouttherisk.
 I 3.   You mustfollow the irstructionsof theprobationofficerrelatedto theconditionsof supervision.

U.S.Probation OffrceUseOnly
A U.S. probation officer has instructed me on the conditions specified by the court and has provide me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Oyemiew of Probation and Supervised
ReleaseConditions, availableat: www.uscourts.gov.

Defendart's Signature                                                                        Date
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         TSR

DEFENDANT:            TatonyaShariHailes
CASENUMEER:           4:17CR00208-19




                                    SPECIALCONDITIONSOF SUPERVISION

  l.   You must participatein a substanceabusetreatmentprogam and follow the rules and regulationsof that progam. The
       probation offrcer will superviseyour participation in the program, You must pay the costs of treatmentin an amountto be
       determined by theprobationofficer,basedon your abilityto payor availabilityofthird-partypayment.

       You must submitto substance   abusetestingto determineif you haveuseda prohibitedsubstance.You mustnot attemptto
       obstructor tamperwith fte testingmethods.

  3 . You must complete40 hours of cornmuniryservicewithin the fifft 12 monthsof supervision.The probationoflicer will
              theparticipationin theprogam by approvingtheprogramandverifuingcompleted
      supervise                                                                      hours.

  4 . You mustparticipatein an educational
                                         servicesprogramand follow the rulesandregulationsofthat program. Suchprograms
      mayincludehighschoolequivalency  prepararion.

  5 . You must submit your person!property,house,residence,office, vehicle,papers,computers(as de{inedin 18 U.S.C. $
      1030(exl)), other electroniccommunications   or data storagedevicesor media,to a searchconductedby a United States
      probationofficer.Failureto submitto a searchmay be groundsfor revocationof release.You mustwam any otheroccupants
      that the premisesmay be subjectto searches pursuantto this condition.The probationoflcer may conducta searchunderthis
      conditiononly when reasonable   suspicionexiststhat you haveviolateda conditionof supervisionand that the areasto be
      searched  containevidenceofthis violation.Any searchmustbe conducted  at a reasonable
                                                                                         time andin a reasonable
                                                                                                              manner.
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DEFENDANTi             TatonyaShariHailes
CASENUMBER:            4:17CR00208-19


                                         CRIMINAL MONETARY PENALTIES
     The defendantmustpay the total crirninal monetarypenaltiesunderthe scheduleofpayments.

                                      *
              Assessment JVTA Assessment                            Fine                                  Restitution
TOTALS        $IOO

I     The determination  of restitutionis defeneduntil                                An AmendedJudgmentin q Criminal Cqse(Ao245C)
      will be enter€dafter suchdetermination.

tr               mustmakerestitution(includingcommunityrestitution)to the followingpayeesin theamountlistedbelow,
      Thedefendant

      If the defendantmakesa partial payment,eachpayeeshall receivean approximatelyproportionedpayment,unlessspecified
      otherwisein the priodty order or percentage
                                                paymentcolumnbelow. However,pursuantto l8 U.S.C.S 3664(i),all nonfederal
      victimsmustbe paidbeforethe UnitedStatesis paid.

Name ofPave€                            Total Loss**                            RestitutionOrdered                Priorify or Percentage




TOTALS

tr    Restitutionamounforderedpursuantto pleaagreement$

!     The defendant  mustpay intereston restitutionanda fine ofmore than$2,500,unlessthe restitutionor fine is paidin full beforethe
      fifteenthdayafterthe dateofthe judgment,pursuantto 18U.S.C.$ 3612(f). All olthe paymentoptionson Sheet6 maybe subject
      to penaltiesfor delinquencyanddefault,pursuanlto l8 U.S.C.g 3612(g).

!     Thecourtdetermined
                       thatfhe def€ndant
                                       doesnot havetheability to pay int€restandit is orderedthat;

     D    the jnterestrequirement
                                is waivedfor the           tr   fine        E    restitution,

     n    the interestrequircment
                                for the        E    fine        .      restitutionis modifiedasfollows:

* Justicefor Victimsoftrafficking Act of2015, Pub.L, No, I l4-22.
** Findingsfor the total amountoflossesarerequiredunderChapters1094, I10, 110A,and l13A of Title l8 for offensescommittedon
or afterSeptember  13, 1994,but beforeAprtl23,1996.
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    DEFENDANT:              Ta(onyaShariHailes
    CASENUMBER:             4:17CR00208-19


                                                          SCHEDULE OF PAYMENTS
 Havingassessed            ability to pay,paymentofthe totalcriminalmonetarypenaltiesis dueasfollows:
              thedefendant's

 A      fi     Lump sumpaymentof$l!!        is dueimmediately.

               tr   notlaterthan                                   - ,or
               tr   in accordance tr     C,      n   D,       I   E,or   f]   Fbelow; or
B       E      Paymentlo beginimmediately(maybe combinedwirh                  fl   C,   n D,or   !   F below);or
C       I      Paymentin equal           _    (e.C.,   montply,
                                                  weekly,    quafietu)installme\Isof S _.       _         overaperiodof
                          (e.9.,months
                                     ot'years),
                                             to commence            (e.g.,30or 60days)afferthedateofthis judgment;or

D       E      Paymentin equal                (e.9.,weekly,monthly,quarterly)installmentsof $
                                                                                                               , overa periodof
                   ..     (e.C.,
                               months
                                    or yea/s),
                                             lo commence                _ (e.g , 30or 60days)afterreleasefrom imprisonment to a
               termofsupervision;or

E       n      Paymentduringthetermof supervisedreleasewill commence
                                                                   within                  30or 60d.ays)
                                                                                       @.g.,             afterreleasefrom
               imprisonment.Thecourtwill setthepaymentplanbasedon an assessment
                                                                             ofthe defendant's
                                                                                             abilityto pay at thattime;or
F       !      Specialinstructions
                                 regardingthepaymentofcrimingl monetarypenalties:




Unlessthe court has expresslyorderedotherwise,if this judgmentimposesimprisonment,
                                                                                paymentof criminalmonetarypenaltiesis due
duringimprisonment.All criminalmonetarypenalties,exceptthosepa)rnentsmadethroughthe FederalBureauof PrisonsiInmateFinancial
Responsibility
             Progam,aremadeto the clerkofthe court.


Tfie def€ndanrshail receivecredit for all paymenk previouslymadetoward anycriminal monetaryperalties imposed.

n           JointandSeveral
            Defendantand Co-DefendantNamesand CaseNumbers(ihcludikgdefendant
                                                                          nunber),ToIal Arnotnt, Joint and SeveralAmount,
            andcorrespondingpayee,if appropriate,



L-l         Thedefendant
                       shallpaythe costofprosecution.

!           Thedefendant
                       shallpaythe followingcow cost(s):
D        Thedefendant
                    shallforfeitthedefendant's
                                             interesrin thefollowingpropefiyto Ih€unired states:

Payments   shallbe appliedin thefollowingorder:(1) assessment,
                                                            (2) restitutionprincipal,(3) restitutioninterest,(4) fine principal,
(5) fine interest,(6) communityr€stitution,(7) JVTA Assessmont,
                                                             (8) penalties,and(i) costs,includingcostofprosecutionani courtcosts.
